Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 1 of 28 PAGEID #: 4634




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 WILLIAM P. YOUNG,                                 :
                                                   :   Case No. 2:03-cv-655
    Plaintiff,                                     :
                                                   :
        v.                                         :   JUDGE ALGENON L. MARBLEY
                                                   :
 LUMENIS, INC.,                                    :   Magistrate Judge Kemp
                                                   :
        Defendant.                                 :


                                     OPINION AND ORDER

                                       I. INTRODUCTION

        This matter comes before the Court on Defendant’s two motions for summary judgment.

 On August 19, 2005, Defendant filed a Motion for Summary Judgment on Plaintiff’s Induced

 Infringement Claim (“Defendant’s First Motion”). On January 9, 2006, Defendant filed a

 separate Motion for Summary Judgment, arguing Patent Unenforceability due to Plaintiff’s

 Inequitable Conduct (“Defendant’s Second Motion”). Plaintiff filed memoranda contra to both

 of Defendant’s motions. For the reasons stated herein, Defendant’s First Motion is GRANTED,

 and Defendant’s Second Motion is GRANTED.

                          II. FACTS AND PROCEDURAL HISTORY

        Plaintiff, Dr. William P. Young, is a veterinarian who has obtained a patent for a cat

 declaw method using a laser. On January 7, 2003, the United States Patent and Trademark

 Office (“PTO”) awarded Plaintiff U.S. Patent No. 6,502,579 (the “‘579 patent”), entitled “Laser

 Onychectomy by Resection of the Redundant Epithelium of the Ungual Crest.” According to

 Plaintiff, the patented procedure is unique because it leaves a substantial portion of tissue to

 cover the exposed tip of the second phalanx, thereby eliminating the need for surgical closure,
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 2 of 28 PAGEID #: 4635




 decreasing risk of infection and facilitating the healing process.

           On July 23, 2003, Plaintiff filed a Complaint against Defendant, Lumenis, Inc.

 (“Lumenis”), alleging infringement of the ‘579 patent and seeking preliminary and permanent

 injunctions, damages, and attorney’s fees. Defendant is an international manufacturer, seller,

 and distributor of, among other things, surgical laser instruments, which may be used to perform

 Plaintiff’s patented surgical procedure. According to the Complaint, Defendant had been

 teaching veterinarians to perform the patented procedure in connection with its sales efforts.

           In an Opinion and Order dated January 26, 2004, this Court granted Plaintiff’s Motion for

 a Preliminary Injunction. Finding that Defendant had not raised a substantial question as to the

 patent’s validity and that Plaintiff had a reasonable likelihood of success on the merits of his

 infringement claim, the Court enjoined Defendant and anyone acting in concert with Defendant

 from teaching, performing, or practicing the patented procedure and from distributing any

 materials that teach or illustrate the procedure.

           On October 19, 2004, after it held a bench trial on Plaintiff’s alleged inequitable conduct

 before the PTO, the Court found that neither Plaintiff nor his attorney, Jason Foster, engaged in

 any such conduct.

           The parties then filed briefs for a Markman hearing, which this Court held on March 1,

 2005. After the hearing, the court found that five of the six claims in the ‘579 patent were

 invalid for indefiniteness. The Court ruled that Claim 1 was invalid because Defendant proved

 by clear and convincing evidence that it would be impossible for someone skilled in the art to

 determine the meaning of the term “near” as used in Step (a) of Claim 1, and thus avoid

 infringement. Because Claims 2 through 5 are dependent on Claim 1, the Court found them

 similarly invalid for indefiniteness. After the Markman hearing, only Claim 6 of the ‘579 patent

 stands.

                                                     2
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 3 of 28 PAGEID #: 4636




        On August 19, 2005, Defendant filed Defendant’s First Motion, and on January 9, 2006,

 Defendant filed Defendant’s Second Motion. Plaintiff filed memoranda contra to both of

 Defendant’s motions, and Defendant filed reply memoranda. Accordingly, Defendant’s First

 Motion and Defendant’s Second Motion are both ripe for disposition.

                                  III. STANDARD OF REVIEW

        As a threshold matter, “[s]ummary judgment is as appropriate in a patent case as in any

 other civil action.” Desper Products, Inc. v. Spatializer Audio Laboratories, Inc., 157 F.3d

 1325, 1332 (Fed. Cir. 1998); C.R. Bard, Inc. v. Advanced Cardiovascular Systems, Inc., 911 F.2d

 670, 672 (Fed. Cir. 1990).

        Generally, summary judgment is appropriate “[i]f the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, show there is no

 genuine issue as to any material fact and the moving party is entitled to judgment as a matter of

 law.” FED. R. CIV. P. 56(c). The movant has the burden of establishing that there are no genuine

 issues of material fact, which may be accomplished by demonstrating that the non-moving party

 lacks evidence to support an essential element of its case. Celotex Corp. v. Catrett, 477 U.S.

 317, 322–23 (1986). The non-moving party must then point to an evidentiary conflict created on

 the record by at least submitting a counter statement of a fact or facts set forth in detail in an

 affidavit by a knowledgeable affiant. Barmag Barmer Maschinenfabrik Ag. v. Murata

 Machinery, Ltd., 731 F.2d 831, 835 (Fed. Cir. 1984).

        In evaluating a motion for summary judgment, the evidence must be viewed in the light

 most favorable to the non-moving party. Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970).

 The Court also must interpret all reasonable inferences in the non-movant’s favor. United States

 v. Diebold, Inc., 369 U.S. 654, 655 (1962); Netscape Communications Corp. v. Konrad, 295 F.3d



                                                    3
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 4 of 28 PAGEID #: 4637




 1315, 1319 (Fed. Cir. 2002); see also Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133,

 150 (2000) (stating that the court must draw all reasonable inferences in favor of the non-moving

 party and must refrain from making credibility determinations or weighing the evidence). The

 existence of a mere scintilla of evidence in support of the non-moving party’s position will not

 be sufficient; there must be evidence from which the jury reasonably could find for the non-

 moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251 (1986); see also Matsushita

 Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (finding summary judgment

 appropriate when “the record taken as a whole could not lead a rational trier of fact to find for

 the non-moving party”).

                                          IV. ANALYSIS

                      A. Defendant’s First Motion (Induced Infringement)

        In Defendant’s First Motion, it alleges that Plaintiff cannot prove that Defendant ever

 induced infringement of Claim 6 of the ‘579 patent, and therefore, Defendant is entitled to

 summary judgment on that issue. Title 35 U.S.C. § 271(b) provides that “[w]hoever actively

 induces infringement of a patent shall be liable as an infringer.” To prove inducement, a plaintiff

 must prove two elements: (1) that the defendant intended for his actions to induce actual

 infringement; and (2) that a third party directly infringed. Alloc, Inc. v. Int’l Trade Comm’n, 342

 F.3d 1361 (Fed. Cir. 2003); Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1363 (Fed Cir.

 2003); see also C.R. Bard, Inc. v. Advanced Cardiovascular Sys., Inc., 911 F.2d 670, 675 (Fed.

 Cir. 1990) (“A person induces infringement under 271(b) by actively and knowingly aiding and

 abetting another’s direct infringement.”) (emphasis in original).

        The level of intent a plaintiff must prove in an induced infringement claim is relatively

 high. The fact that a defendant has “knowledge of the acts alleged to constitute infringement” is

                                                  4
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 5 of 28 PAGEID #: 4638




 not enough. Warner-Lambert, 316 F.3d at 1363 (quoting Manville Sales Corp. v. Paramount

 Sys., Inc., 917 F.2d 544, 553 (Fed Cir. 1990)). Rather, “proof of actual intent to cause the acts

 which constitute the infringement is a necessary prerequisite to finding active inducement.” Id.

 (quoting Hewlett-Packard Co. v. Bausch & Lomb, Inc., 909 F.2d 1464, 1469 (Fed. Cir. 1990)).

 Direct evidence of actual intent, however, is not necessary; circumstantial evidence may suffice.

 Id. (citing Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed Cir. 1998)).

         As to the second element, a plaintiff must show evidence that the defendant’s actions

 caused direct infringement by a third party. Dynacore Holdings Corp. v. U.S. Philips Corp., 363

 F.3d 1263, 1274 (Fed. Cir. 2004); see also Zenith Laboratories, Inc. v. Bristol-Meyers Squibb

 Co., 19 F.3d 1418, 1423 n.5 (Fed. Cir. 1994) (“A finding that a claim is infringed is a necessary

 prerequisite to a finding that there has been an act constituting inducement to infringe under §

 271(b).”); Cannon Group, Inc. v. Better Bags, Inc., 250 F.Supp.2d 893, 906 (S.D. Ohio 2003)

 (Marbley, J.) (“[I]nducement to infringe a patent require[s] that someone directly infringe the

 patent.”).

         Defendant argues that Plaintiff cannot show any evidence that Defendant possessed the

 requisite intent to induce infringement of the ‘579 patent or that there was direct infringement by

 an unauthorized third party. Accordingly, Defendant seeks summary judgment on Plaintiff’s

 induced infringement claims.

         Since the Court has previously invalidated Claims 1 through 5 of the ‘579 patent,1 the

 only claim at issue here is Claim 6, which reads:

       A feline onychectomy surgical method using a laser cutting instrument, the method
 comprising:


         1
          See Order Regarding Markman Hearing, No. 03-655 (S.D. Ohio Nov. 1, 2005).

                                                  5
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 6 of 28 PAGEID #: 4639




        (a)     forming a first circumferential incision with the laser in the epidermis at the edge
                of the ungual crest of the feline’s claw, thereby severing at least some of the
                epidermis from the ungual crest; and then


        (b)     applying cranial traction to the epidermis severed from the ungual crest to
                displace the distal edge of the epidermis cranially; and then


        (c)     Forming a second circumferential incision in the epidermis about 3 millimeters
                cranial to the first circumferential incision, thereby severing at least some of the
                subcutaneous fascia from the ungual crest; and then


        (d)     Incising the extensor tendon near its insertion on the ungual crest by directing the
                laser beam in a substantially palmar direction from a laser beam source positioned
                substantially dorsally of the extensor tendon; and then


        (e)     incising the synovium of the PII-PIII joint; and then


        (f)     applying traction to the claw in the palmar direction for disarticulating the PII-
                PIII joint; and then


        (g)     ablating the medial and lateral collateral ligaments by directing the laser beam in
                a substantially palmar direction from the source positioned substantially dorsally
                of the ligaments; and then


        (h)     incising the digital flexor tendon by directing the laser beam in a substantially
                palmar direction from the source positioned substantially dorsally of the flexor
                tendon; and then


        (i)     incising the subcutaneous tissues of the pad of the second phalanx by directing
                the laser beam in a substantially palmar direction from the source positioned
                substantially dorsally of the flexor tendon; and then


        (j)     applying palmar traction to the epidermis severed from the ungual crest for
                covering the onychectomy site.


 To survive Defendant’s motion for summary judgment, Plaintiff must demonstrate: (1) that

 Defendant intended for his actions to induce a third party to perform the ten-step procedure set



                                                  6
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 7 of 28 PAGEID #: 4640




 forth in Claim 6 of the ‘579 patent; and (2) that Defendant’s actions did in fact induce a third

 party to perform that ten-step procedure.2


                       1. Induced Infringement Based Upon Arza’s Conduct

        Defendant employed Dr. Reinaldo A. Arza (“Arza”) as a sales representative from

 February 2002 until December 2003. In connection with his sales efforts, Arza sometimes

 would instruct veterinarians on how they might use the laser, demonstrating several different

 procedures. The potential customers then would perform the different procedures according to

 Arza’s instruction. On occasion, Arza would demonstrate a cat declaw procedure, which

 Plaintiff alleges amounts to induced infringement of the ‘579 patent. Defendant counters that

 there is no evidence that Arza ever taught the specific ten-step procedure described in Claim 6,

 so it is entitled to summary judgment on this issue.

        Plaintiff indicates that he can prove Arza’s intent to induce infringement and direct

 infringement through Arza’s own deposition testimony. When questioned about the procedures

 he taught to veterinarians during sales calls, referred to as “demonstrations,” and installations of

 lasers he had already sold, referred to as “in-services,” Arza testified as follows:

        “Q:     I see. Okay. What about an in-service or a demonstration? Did you ever give an
                in-service or a demonstration in any time frame of a declaw procedure?
        A:      Yes.


        2
          The Court disagrees with Plaintiff to the extent he argues Defendant has induced
 infringement simply by selling its laser products. Selling a device capable of infringement,
 without more, is not inducement. Dynacore Holdings Corp., 363 F.3d at 1276 n.6; see also Joy
 Technologies, Inc. v. Flakt, Inc., 6 F.3d 770, 774–75 (Fed. Cir. 1993) (“a method claim is not
 directly infringed by the sale of an apparatus even though it is capable of performing only the
 patented method. The sale of the apparatus is not a sale of the method. The method claim is
 directly infringed only by one practicing the patented method.”). In this case, Plaintiff may not
 base any claim of infringement solely on Defendant’s manufacture and sale of surgical lasers,
 even though those lasers are capable of performing the ten-step method in Claim 6 of the ‘579
 patent.

                                                   7
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 8 of 28 PAGEID #: 4641




        Q:      Okay. And would the veterinarian or the person to whom you taught the declaw
                procedure then perform the declaw procedure?
        A:      Yes.
        Q:      And then, assuming since it’s a small number of people, did you watch how they
                performed the procedure?
        A:      Yes.
        Q:      Okay. And did they perform the procedure as you taught them to do it?
        A:      That’s the -- That’s the -- That’s the objective.
        Q:      That’s the objective. So -- so when your objective was met, you could leave and
                -- and -- and go --
        A:      Well, when the -- when the procedure was done --
        Q:      Yeah.
        A:      I could leave whether it was met or not.
        Q:      Yeah. Okay. But -- But just in particular, you -- you have taught the declaw
                procedures in either installations or demonstrations; and the veterinarian then
                performed it as you taught it. Is that correct?
                [Objection omitted]
        A:      Then the veterinarian performed it.
        Q:      That’s right. And -- And -- And I take it if the veterinarian performed it in a way
                that you thought was incorrect, you would point that out to the veterinarian?
        A:      That is correct.”


 Plaintiff asserts that this excerpt from Arza’s deposition testimony evidences his intent to teach a

 cat declaw procedure so that the veterinarian he taught would perform it. Furthermore, once the

 veterinarian performed the procedure Arza taught, the veterinarian committed direct

 infringement. Thus, according to Plaintiff, he can meet both elements of his induced

 infringement claim based upon Arza’s conduct during demonstrations and in-services.3

        The problem with Plaintiff’s above analysis is that the selected deposition testimony does

 not address Arza’s intent to induce infringement, or establish any direct infringement, of Claim



        3
         The only evidence Plaintiff uses to support this claim of induced infringement is Arza’s
 deposition testimony. Notably, Plaintiff has not identified any direct infringer who Arza has
 allegedly induced.

                                                  8
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 9 of 28 PAGEID #: 4642




 6, specifically. Claims 1 through 5 of the ‘579 patent have been invalidated by this Court’s

 previous Order, and only Claim 6 stands. The aforementioned deposition testimony does not set

 out the steps, one by one, that Arza taught during demonstrations and in-services. As long as

 Arza did not teach the ten-step method provided in Claim 6, then neither Arza nor Defendant

 induced infringement of the ‘579 patent. The deposition testimony Plaintiff cites does not, by

 itself, show that Arza induced infringement of Claim 6, the only remaining Claim of the ‘579

 patent.

           In fact, Arza specifically testified during his deposition that he did not teach anyone the

 steps in Claim 6. During his first deposition, Arza testified to the following:

           “Q:    Okay. Okay. Yes. Did you ever teach a second incision through the tissue of the
                  P3 that was proximal to the first incision [as described in step 6(c)]?
           A:     Say that again. A second incision -- I’m trying to follow what you’re--
           Q:     I understand.
           A:     -- what you’re trying to describe --
           Q:     I’m not sure I can --
           A:     -- so I can -- so I can answer properly.
           Q:     A second incision to the tissue covering P3 that was proximal to the first incision.
           A:     No.
           Q:     You’ve never taught that?
           A:     No, not --
                  [Objection omitted]
           A:     -- not -- no, not to my recollection.
           Q:     Did you ever perform a second incision of -- of the type I just described?
           A:     I don’t know. I mean not by intention. Not -- Not in -- Not by intention.
           Q:     Not deliberately?
           A:     No. Well, if my first incision is not deep enough, then obviously I would have to
                  make a second incision.
           Q:     Okay.
           A:     You know, but not intentionally making first incision, second incision, no.”



                                                     9
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 10 of 28 PAGEID #: 4643




 Later during his deposition, when discussing the procedure he taught to veterinarians, Arza

 testified as follows:

         “Q:     Okay. Let’s go to [Claim 6] (c)?
         A:      ‘Forming a second circumferential incision in the epidermis about three
                 millimeters cranial to the first circumferential incision, thereby severing at least
                 some of the subcutaneous fascia from the ungual crest; and then.’ And this,
                 again, is a step that I typically do not intend to do and only do I do that if my first
                 circumferential incision did not go deep enough to accomplish the procedure.”


 Plaintiff, in his Memorandum Contra, concedes that “Dr. Arza testified recently that he had not

 taught a second incision as recited in claims 3, 4, and 6.”4 Because Arza’s deposition testimony

 does not indicate that he taught veterinarians the ten-step method described in Claim 6 of the

 ‘579 patent, Plaintiff has not provided sufficient evidence to show that Arza intended to induce

 infringement. Additionally, Plaintiff fails to submit any evidence that there was direct

 infringement of the ‘579 patent due to Arza’s demonstrations or in-services. Therefore,

 Defendant’s First Motion, based upon Arza’s conduct, is GRANTED.

                         2. Induced Infringement Based Upon Book Distribution

         After filing his provisional patent application, Plaintiff delivered a lecture on the

 procedure and prepared and published a technical paper describing the procedure. An overview

 of Plaintiff’s paper was published in the May 2002 thirteen-chapter book entitled The Veterinary

 Clinics of North America Small Animal Practice, edited by Dr. Kenneth E. Bartels (the “Bartels

 book”). The Bartels book, which focuses on “Lasers in Medicine and Surgery,” describes and

 explains various uses of surgical lasers in veterinary medicine. Plaintiff’s paper appears within

 Chapter 6 of the Bartels book.




         4
          Pl.’s Mem. Opp’n to Def.’s First Motion at 6 n. 14.

                                                   10
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 11 of 28 PAGEID #: 4644




        Plaintiff alleges that in May 2003, one of his colleagues who attended a Lumenis-

 sponsored conference in Columbus, Ohio, received a copy of the Bartels book. Furthermore,

 Arza testified during his deposition that he distributes copies of the Bartels book and that

 Lumenis provided him with these books. Plaintiff bases one of its induced infringement claims

 on Defendant’s distribution of the Bartels book in connection with selling its surgical lasers.

        Defendant seeks summary judgment on this claim, arguing that Plaintiff lacks evidence to

 prove that Defendant had the requisite intent or that its distribution of the Bartels book caused

 direct infringement of the ‘579 patent. In its Memorandum Contra, Plaintiff concedes that he

 lacks evidence on the essential elements of this claim, but urges this Court to deny Defendant’s

 motion on this issue pursuant to Rule 56(f) of the Federal Rules of Civil Procedure because

 Defendant allegedly withheld certain discovery.

                                         a. Requisite Intent

        Plaintiff has not proven that Defendant actually intended to cause the acts which would

 constitute the infringement of the ‘579 patent when Defendant distributed the Bartels book to

 customers. A plaintiff must show that the defendant promoted or encouraged a third party to

 infringe a method patent to survive summary judgment. See Warner-Lambert, 316 F.3d at 1364.

 On this issue, Plaintiff primarily bases his allegation of induced infringement upon the following

 deposition testimony of Arza:

        “Q:     When you distribute those [Bartels] books, do you -- describe the circumstances
                surrounding how you might distribute one of those books.
        A:      The circumstances would go like this: I would simply ask: Are you familiar with
                the -- of course, all veterinarians are familiar with the Veterinary Clinics of North
                America. I simply ask: Do you have the May 2002 issue of Veterinary Clinics of
                North America, which talks about lasers used in veterinary medicine? If the
                answer is no, then I say, ‘Well, here take this one; its got some good information
                in there for you.’”


                                                  11
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 12 of 28 PAGEID #: 4645




 The foregoing testimony, by itself, is not enough to constitute the level of intent necessary to

 satisfy the first element of an induced infringement claim.

        Moreover, Plaintiff has not proven that Defendant, or any of Defendant’s employees,

 ever read Chapter 6 of the Bartels book themselves. Without proof that Defendant read Chapter

 6 of the Bartels book before giving the book to its customers, this Court finds it difficult to

 believe that Defendant could have promoted or encouraged the book recipients to infringe the

 ‘579 patent. Therefore, Plaintiff has not submitted sufficient evidence to meet the first element

 of his induced infringement claim based upon Defendant’s distribution of the Bartels book.

                                       b. Direct Infringement

        Likewise, Plaintiff has failed to prove that any person to whom Defendant distributed the

 Bartels book directly infringed Claim 6 of the ‘579 patent. Without proof that some third party

 directly infringed the ‘579 patent as a result of Defendant’s distribution of the Bartels book,

 Plaintiff’s claim of induced infringement fails.

                                             c. Rule 56(f)

        Plaintiff asks this Court to deny Defendant’s First Motion on this issue by invoking Rule

 56(f) of the Federal Rules of Civil Procedure. Rule 56(f) provides the following:

                Should it appear from the affidavits of a party opposing the motion
                [for summary judgment] that the party cannot for reasons stated
                present by affidavit facts essential to justify the party’s opposition,
                the court may refuse the application for judgment or may order a
                continuance to permit affidavits to be obtained or depositions to be
                taken or discovery to be had or may make such other order as is just.


 FED. R. CIV. P. 56(f). To invoke Rule 56(f), a party must indicate to the district court its need for

 additional discovery, what material facts it hopes to uncover, and why it has not previously

                                                    12
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 13 of 28 PAGEID #: 4646




 discovered the information. Ball v. Union Carbide Corp., 385 F.3d 713, 720 (6th Cir. 2004)

 (quoting Cacevic v. City of Hazel Park, 226 F.3d 483, 488 (6th Cir. 2000)).

         In this case, Plaintiff alleges that he cannot adequately respond to Defendant’s First

 Motion regarding Defendant’s distribution of the Bartels book because he first needs to obtain

 from Defendant (1) the identity of persons to whom Defendant distributed the Bartels book and

 (2) Defendant’s sales representatives’ calendars. In its Reply Memorandum, Defendant asserts

 that it does not maintain a record of Bartels book recipients, and that it has previously explained

 to Plaintiff that no such record exists. Defendant further contends that it had disclosed its sales

 representatives’ calendars, with the exception of Arza’s calendar, to Plaintiff almost two years

 ago. Defendant alleges that Plaintiff’s request for protection under Rule 56(f) is merely an

 attempt to stall the litigation.

         At any rate, the Court denies Plaintiff’s request under Rule 56(f) because the documents

 he seeks from Defendant are irrelevant. First, Defendant has explained to Plaintiff that a list of

 Bartels book recipients does not exist. Defendant has already disclosed to Plaintiff its customer

 list, which it insists is the most responsive document to Plaintiff’s request. Second, the sales

 representatives’ calendars provide nothing more than the dates upon which those representatives

 met with potential customers. Neither of the documents Plaintiff seeks here is probative of

 Defendant’s intent to induce infringement of Claim 6 of the ‘579 patent or of any third-party

 direct infringement. As such, Plaintiff’s request under Rule 56(f) is denied. Furthermore, since

 Plaintiff has failed to prove the essential elements of his induced infringement claim based upon

 Defendant’s distribution of the Bartles book, Defendant’s First Motion, with respect to that

 claim, is GRANTED.

                            3. Induced Infringement Based Upon Web Site


                                                  13
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 14 of 28 PAGEID #: 4647




        Sometime after obtaining the ‘579 patent, Plaintiff visited a website, www.laserles.com,

 where he obtained detailed instructional materials that relate to the patented procedure. The

 website is operated by Les Lattin (“Lattin”), one of Defendant’s independent sales

 representatives. Defendant’s AccuVet trademark is prominently featured on Lattin’s website.

 Plaintiff bases one of its induced infringement claims on the information Plaintiff retrieved from

 this website.

        Defendant, in its motion for summary judgment, first argues that because Lattin is an

 independent contractor over whom Defendant has no control, Defendant cannot be held

 vicariously liable for Lattin’s website content. Defendant then contends that Plaintiff has not

 pointed to any evidence that Defendant intended anyone to perform the allegedly infringing acts

 after viewing the material on Lattin’s website. Finally, Defendant asserts that there is no

 evidence that anyone ever accessed the allegedly infringing content or that anyone ever

 performed the infringing acts after viewing the web posting.

        In its Memorandum Contra to Defendant’s First Motion, Plaintiff did not respond to any

 of Defendant’s arguments involving Lattin’s website. At oral argument, Plaintiff conceded the

 he had no evidence to support a valid claim of induced infringement based upon Lattin’s

 website. Because Plaintiff has failed to make any showing of the essential elements of his

 induced infringement claim with respect to Lattin’s website, Defendant’s First Motion as to that

 claim is GRANTED.

                    4. Induced Infringement Based Upon Wertheim’s Conduct

        Another of Plaintiff’s induced infringement claims relates to the conduct of Darren




                                                 14
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 15 of 28 PAGEID #: 4648




 Wertheim (“Wertheim”), one of Defendant’s independent sales representatives.5 Specifically,

 Plaintiff asked Dr. John H. Carr (“Carr”), one of Plaintiff’s colleagues, to contact Defendant and

 to schedule a demonstration of the surgical laser Defendant sells. On June 30, 2003, Wertheim

 conducted the sales demonstration, and both Plaintiff and Carr attended. During Wertheim’s

 demonstration, which was videotaped, he performed a feline declaw procedure using

 Defendant’s laser. Wertheim then encouraged Carr to perform the procedure. Plaintiff alleges

 that Wertheim’s conduct during the demonstration induced infringement of the ‘579 patent.

        In Defendant’s First Motion, it argues that Plaintiff cannot prove that Wertheim taught

 Carr the ten-step procedure provided in Claim 6 of the ‘579 patent. Additionally, it argues that

 because Carr had Plaintiff’s permission to participate in Wertheim’s demonstration, Plaintiff

 granted Carr an implied license to perform the steps he carried out during that demonstration and

 thus, Carr could not directly infringe the ‘579 patent. To prove Plaintiff granted an implied

 license to Carr, Defendant indicates that Plaintiff asked Carr to set up the demonstration, paid

 him for his services, and had him participate in a videotape of the meeting. According to

 Defendant, since Carr could not be a direct infringer as Plaintiff’s licensee, then Plaintiff’s claim

 of induced infringement based upon Wertheim’s conduct fails.




                                         a. Requisite Intent

        Defendant does not address whether Wertheim possessed the requisite intent to meet the




        5
          In his Memorandum Contra, Plaintiff alleges that he can hold Defendant vicariously
 liable for Wertheim’s conduct because Wertheim had apparent agency authority by virtue of his
 representations to Plaintiff and Dr. John H. Carr. Defendant does not dispute Wertheim’s agency
 authority in its Reply Memorandum, so the Court does not address the agency issue in this
 Opinion.

                                                  15
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 16 of 28 PAGEID #: 4649




 first element of induced infringement. Rather, Defendant’s argument as to this claim is restricted

 to whether there was any direct infringement.

                                       b. Direct Infringement

        Defendant contends that, before filing his Memorandum Contra to Defendant’s First

 Motion, Plaintiff had never alleged that Carr actually performed the ten-step procedure set out in

 Claim 6. According to Defendant, Plaintiff alleged that, during Wertheim’s demonstration,

 Defendant induced infringement as to Claims 1 through 4 only. Likewise, Plaintiff’s response to

 Defendant’s Interrogatory 1, which asks him to state with particularity his infringement

 contention, indicates that Plaintiff relied upon the Wertheim demonstration for Claims 1-4, but

 not for Claims 5 or 6. At oral argument, Plaintiff admitted that he has no evidence that Wertheim

 taught Carr the ten-step procedure in Claim 6. After it considers Plaintiff’s recent concession,

 the Court finds Plaintiff’s allegation of induced infringement based upon Wertheim’s conduct

 insufficient to survive summary judgment. Therefore, Defendant’s First Motion, with respect to

 this claim, is GRANTED.6

                     B. Defendant’s Second Motion (Inequitable Conduct)

               1. Whether Defendant’s Second Motion is Before The Court Properly

        Before it addresses the merits of Defendant’s Second Motion, this Court must determine

 whether that motion is before the Court properly. During oral argument on Defendant’s two

 motions for summary judgment, Plaintiff asserted that the Court could not decide the issue of

 Plaintiff’s alleged inequitable conduct because Defendant did not assert that claim in its



        6
         Because it finds that Plaintiff has provided insufficient evidence to meet its burden of
 proof on this issue, and that Defendant is entitled to judgment as a matter of law on that basis,
 this Court need not address Defendant’s implied license theory.

                                                  16
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 17 of 28 PAGEID #: 4650




 pleadings, in accordance with Rules 8(c)7 and 9(b)8 of the Federal Rules of Civil Procedure

 (“Rule 8(c)” and “Rule 9(b),” respectively).9 Defendant responded by moving the Court to

 amend its pleadings pursuant to Rule 15(b) of the Federal Rules of Civil Procedure.10 After oral

 argument on Defendant’s motions for summary judgment, the Court ordered the parties to submit

 briefs on the issue of whether Defendant’s Second Motion is before the Court properly.

        Both parties agree that Defendant’s inequitable conduct claim at issue is an affirmative

 defense that is subject to Rule 8(c) and Rule 9(b). See FED. R. CIV. P. 8(c), 9(b); see also



        7
         Rule 8(c), in pertinent part, states the following: “In pleading to a preceding pleading, a
 party shall set forth affirmatively . . . fraud . . . and any other matter constituting an avoidance or
 affirmative defense.” FED. R. CIV. P. 8(c).
        8
        Rule 9(b), in relevant part, provides that “[i]n all averments of fraud or mistake, the
 circumstances constituting fraud or mistake shall be stated with particularity.” FED. R. CIV. P.
 9(b).
        9
          Plaintiff, in his brief on this issue, maintains that he does not claim Defendant violated
 Rule 8, but rather that Defendant violated Rule 9(b) when it moved for summary judgment on
 Plaintiff’s alleged inequitable conduct before asserting that claim in its pleadings. As a legal
 matter, however, this Court cannot address Plaintiff’s Rule 9(b) argument without first analyzing
 Rule 8(c) because Rule 8(c) buttresses Rule 9(b).
         In addition, Plaintiff’s argument here is twofold: first, he alleges that the Court cannot
 hear Defendant’s Second Motion because Defendant did not include that allegation in its
 pleadings; second, he alleges that the Court cannot hear Defendant’s Second Motion because
 Defendant did not plead Plaintiff’s alleged inequitable conduct with the requisite particularity.
 Therefore, the Court must interpret Rule 8(c) to resolve Plaintiff’s first argument, and it must
 interpret Rule 9(b) to resolve Plaintiff’s second argument.
        10
             Rule 15(b), in relevant part, provides the following:

                   If evidence is objected to at the trial on the ground that it is not
                   within the issues made by the pleadings, the court may allow the
                   pleadings to be amended and shall do so freely when the
                   presentation of the merits of the action will be subserved thereby
                   and the objecting party fails to satisfy the court that the admission
                   of such evidence would prejudice the party in maintaining the
                   party’s action or defense upon the merits.

 Fed R. Civ. P. 15(b).

                                                    17
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 18 of 28 PAGEID #: 4651




 Cabinet Vision v. Cabinetware, 129 F.3d 595, 600 n.4 (Fed. Cir. 1997). In the Sixth Circuit,11 a

 party’s failure to raise an affirmative defense by responsive pleading does not necessarily

 prevent that party from asserting such defense. Moore, Owen, Thomas & Co. v. Coffey, 992 F.2d

 1439, 1445 (6th Cir. 1993); see also Blonder-Tongue Laboratories, Inc. v. Univ. of Ill. Found.,

 402 U.S. 313, 350 (1971) (finding that the purpose of pleading an affirmative defense under Rule

 8(c) is to give the opposing party notice of the defense and an opportunity to respond to it). “[I]f

 a plaintiff receives notice of an affirmative defense by some means other than pleadings, ‘the

 defendant’s failure to comply with Rule 8(c) does not cause the plaintiff any prejudice.’” Moore,

 992 F.2d at 1445 (citing Grant v. Preferred Research, Inc., 885 F.2d 795, 797 (11th Cir. 1989).

        In this case, Defendant gave Plaintiff notice of its affirmative defense when it filed

 Defendant’s Second Motion on January 9, 2006. Pursuant to this District’s Local Civil Rules,

 Plaintiff was not required to respond to Defendant’s Second Motion until January 30, 2006, and

 Plaintiff did in fact file an opposing memorandum on that date. See S.D. OH CIV. R. 7.2(a)(2).

 In its opposing memorandum, however, Plaintiff never asserted that Defendant’s Second Motion

 was before the Court improperly due to a procedural defect; rather, Plaintiff argued the merits of

 Defendant’s Second Motion.12 Despite Plaintiff’s recent objection to Defendant’s Second

        11
          The Sixth Circuit controls on this issue because it is procedural and is not unique to
 patent law. See Molins PLC v. Quigg, 837 F.2d 1064, 1066 (Fed. Cir. 1988).
        12
           Defendant alternatively contends that this Court may consider Defendant’s Second
 Motion because when Plaintiff filed its opposing memorandum, Defendant’s answer was
 “constructively amended” to include the inequitable conduct claim. Plaintiff responds that
 Defendant cannot prevail under this argument because Sixth Circuit precedent does not authorize
 constructive amendment.
         When both parties squarely address an unpled claim in their summary judgment briefs,
 the pleadings may be constructively amended to include that claim. Whitaker v. T.J. Snow Co.,
 151 F.3d 661, 663 (7th Cir. 1998); Walton v. Jennings Cmty. Hosp., 875 F.2d 1317, 1320 (7th
 Cir. 1989); accord Yellow Freight Sys., Inc. v. Martin, 954 F.2d 353, 358 (6th Cir. 1992) (“When
 parties fully litigate an issue they obviously have notice of the issue and have been given an
 opportunity to respond.”); Hasselbrink v. Speelman, 246 F.2d 34, 38–39 (6th Cir. 1957) (“[I]t is

                                                  18
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 19 of 28 PAGEID #: 4652




 Motion under Rule 9(b),13 Plaintiff had adequate notice of Defendant’s allegations and he had an

 opportunity to respond to them in his opposing memorandum and at oral argument. Under

 Moore, Defendant’s failure to comply with Rule 8(c), by itself, does not cause Plaintiff any

 prejudice.14 See 992 F.2d at 1145. Accordingly, this Court may render a decision on

 Defendant’s Second Motion because it is before the Court properly.15



 the rule that when issues not raised by the pleadings are tried by express or implied consent of
 the parties, they shall be treated in all respects as if they had been raised in the pleadings.”).
 This Court finds these decisions persuasive. When Plaintiff responded to Defendant’s Second
 Motion in its opposing memorandum without raising any objection, Plaintiff impliedly consented
 to litigate the issue of his alleged inequitable conduct before the PTO. Thus, the Court may
 constructively amend the pleadings in this case to include that claim.
        13
           Plaintiff waited until oral argument on Defendant’s Second Motion to contest that
 motion on the basis of Rule 9(b). The Court rejects Plaintiff’s argument. Plaintiff contends that
 Defendant’s Second Motion does not to afford Plaintiff adequate notice because it fails to plead
 Plaintiff’s alleged inequitable conduct with sufficient particularity. Specifically, Plaintiff argues
 that Defendant, in its motion, identified the governing rule upon which its argument relies, 37
 C.F.R. § 1.555, but it did not identify the specific subsection of that rule, 37 C.F.R. §
 1.555(b)(2).
         Plaintiff’s argument fails for two reasons: first, Defendant’s citation to 37 C.F.R. § 1.555
 in its motion was particular enough to explain the grounds of Defendant’s essential claim;
 second, Rule 9(b) merely requires a party to plead facts, not the law, with particularity. See FED.
 R. CIV. P. 9(b) (“In all averments of fraud or mistake, the circumstances constituting fraud or
 mistake shall be stated with particularity.”) (emphasis added); see also Michaels Bldg. Co. v.
 Ameritrust Co. N.A., 848 F.2d 674, 677–78 (6th Cir. 1988) (noting that a party must plead its
 factual basis for believing that a fraud has occurred under Rule 9(b)). Defendant’s Second
 Motion states a particular factual basis to give Plaintiff notice regarding Defendant’s inequitable
 conduct allegation. Therefore, Rule 9(b) does not prevent this Court from deciding Defendant’s
 Second Motion.
        14
          Plaintiff claims he would be prejudiced if the Court decides Defendant’s Second
 Motion now because if the Court grants summary judgment on that motion, then the ‘579 patent
 could be held unenforceable. Plaintiff, however, misunderstands the concept of prejudice.
 “Unfair prejudice means the undue tendency to suggest a decision based on improper
 considerations; it does not mean the damage to a [party’s] case that results from the legitimate
 probative force of the evidence.” Doe v. Claiborne County, Tenn., 103 F.3d 495, 515 (6th Cir.
 1996). Thus, the fact that Plaintiff’s patent might be held unenforceable does not constitute
 prejudice.
        15
        Because the Court finds that Defendant amended its pleadings when it filed Defendant’s
 Second Motion and put Plaintiff on notice of the inequitable conduct claim, this Opinion need

                                                  19
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 20 of 28 PAGEID #: 4653




                     2. The Court’s Decision on Defendant’s Second Motion

        In Defendant’s Second Motion, it alleges that the ‘579 patent is unenforceable in its

 entirety due to Plaintiff’s inequitable conduct during reexamination proceedings before the PTO.

 On September 16, 2005, the PTO rejected Claims 1 and 2 of the ‘579 patent based upon prior

 art.16 Pursuant to 35 U.S.C. § 302,17 Plaintiff filed a request for reexamination by the PTO of the

 rejected Claims, which the PTO granted. On October 24, 2005, Plaintiff allegedly had an

 interview with the patent examiner (the “Examiner”), but Plaintiff never filed the required

 interview summary of that meeting.18 On October 26, 2005, Plaintiff submitted a written

 argument to the Examiner, stating the reasons he contended the PTO’s decision to reject Claims

 1 and 2 was incorrect. According to Defendant, Plaintiff engaged in inequitable conduct because

 he violated his duty of candor and good faith in dealing with the PTO in the following ways: (1)

 by failing to disclose to the Examiner Hedlund’s deposition testimony for this litigation19; and


 not address Defendant’s request for leave to supplement its answer and counterclaims pursuant
 to Rule 15 of the Federal Rules of Civil Procedure.
        16
          The PTO rejected Claims 1 and 2 based largely upon Chapter 6 of a 1997 veterinary
 textbook edited by Professor Theresa Fossum (referred to as the “Fossum reference”). The
 chapter at issue, which describes a cat declawing procedure, was authored by Professor Cheryl
 Hedlund (“Hedlund”). The PTO found that the only significant difference between Hedlund’s
 technique and the ‘579 patent is that Hedlund’s technique uses a scalpel for the procedure as
 opposed to a surgical laser.
        17
          Section 302 provides, “Any person at any time may file a request for reexamination by
 the Office of any claim of a patent on the basis of any prior art cited under the provisions of
 section 301 of this title . . . .” 35 U.S.C. § 302.
        18
          37 C.F.R. § 1.560(b), entitled “Interview in ex parte reexamination proceedings,”
 provides that “[i]n every instance of an interview with an examiner in an ex parte reexamination
 proceeding, a complete written statement of the reasons presented at the interview as warranting
 favorable action must be filed by the patent owner.”
        19
          Plaintiff argues that this issue is mooted because he submitted the Hedlund deposition
 to the Examiner on the same day he filed his Memorandum Contra, January 30, 2006. The Court
 disagrees. If the Court finds his conduct before the PTO inequitable, Plaintiff’s recent

                                                 20
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 21 of 28 PAGEID #: 4654




 (2) by making factually false statements that are inconsistent with Hedlund’s deposition

 testimony.

                                     a. Materiality and Intent20

        To prove inequitable conduct in a reexamination proceeding before the PTO, the party

 alleging inequitable conduct must provide evidence of “affirmative misrepresentations of a

 material fact, failure to disclose material information, or submission of false material

 information, coupled with an intent to deceive.” Dayco Prods., Inc. v. Total Containment, Inc.,

 329 F.3d 1358, 1362 (Fed. Cir. 2003) (quoting Purdue Pharma L.P. v. Boehringer Ingelheim




 submission does not cure his misconduct. As an initial matter, Plaintiff did not provide the
 updated information to the PTO until Defendant filed this motion. See Rohm and Haas Co. v.
 Crystal Chemical Co., 722 F.2d 1556, 1572 (Fed. Cir. 1983) (holding that one who commits
 inequitable conduct before the PTO may cure his wrongdoing if he “chooses to take the
 necessary action on his own initiative”).
         Additionally, one who seeks to remedy his inequitable conduct before the PTO must
 prove “by clear, unequivocal, and convincing evidence” that he has performed the following
 three steps:

                The first step to be met by an applicant, aware of misrepresentation
                in the prosecution of his application and desiring to overcome it, is
                that he expressly advise the PTO of its existence, stating specifically
                wherein it resides. The second requirement is that, if the
                misrepresentation is of one or more facts, the PTO be advised what
                the actual facts are, the applicant making it clear that further
                examination in light thereof may be required if any PTO action has
                been based on the misrepresentation. Finally, on the basis of the
                new and factually accurate record, the applicant must establish
                patentability of the claimed subject matter.

 Id. Here, Plaintiff has not proven by clear, unequivocal and convincing evidence that he has
 taken these steps. Therefore, if the Court finds inequitable conduct here, Plaintiff’s misdeeds are
 not cured simply because of his recent disclosure of the Hedlund deposition to the PTO.
        20
           The law of inequitable conduct has been discussed in a previous Opinion and Order in
 this case. See Order Regarding Inequitable Conduct, No. 03-655 (S.D. Ohio Oct. 19, 2004).
 For simplicity, the Court will adopt, with only minor adjustments, the discussion of materiality
 and intent set out in that Opinion.

                                                  21
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 22 of 28 PAGEID #: 4655




 GMBH, 237 F.3d 1359, 1366 (Fed. Cir. 2001)). “Both intent and materiality are questions of

 fact that must be proven by clear and convincing evidence.” Dayco, 329 F.3d at 1362; see

 Monsanto Co. v. Bayer Bioscience N.V., 363 F.3d 1235, 1239 (Fed. Cir. 2004) (noting that a

 court may only find a patent unenforceable based upon inequitable conduct if it finds, by clear

 and convincing evidence, “that the applicant omitted or misrepresented material facts with the

 intention of misleading or deceiving the patent examiner”); Semiconductor Energy Lab. Co. v.

 Samsung Elecs. Co., 204 F.3d 1368, 1373 (Fed. Cir. 2000) (stating that alleged infringer “must

 demonstrate by clear and convincing evidence both that the information was material and that

 the conduct was intended to deceive”).

        The court first must determine whether the withheld references or misrepresentations

 satisfy a threshold level of materiality and whether the applicant’s conduct satisfies a threshold

 showing of intent to deceive. Semiconductor, 204 F.3d at 1373; Baxter Int’l, Inc. v. McGaw,

 Inc., 149 F.3d 1321, 1327 (Fed. Cir. 1998). Once the threshold levels of materiality and intent

 have been established, the court must weigh materiality and intent to determine whether the

 equities warrant the conclusion that inequitable conduct occurred. Semiconductor, 204 F.3d at

 1373; Critikon, Inc. v. Becton Dickinson Vascular Access, Inc., 120 F.3d 1253, 1256 (Fed. Cir.

 1997); see Monsanto, 363 F.3d at 1239 (“Once the challenger has shown the requisite levels of

 materiality and intent, the district court must balance the equities to determine whether the

 patentee has committed inequitable conduct that warrants holding the patent unenforceable.”).

 “The more material the omission, the less evidence of intent will be required in order to find that

 inequitable conduct has occurred.” Baxter, 149 F.3d at 1327; accord Critikon, 120 F.3d at 1256.

 “In light of all the circumstances, the court then must determine whether the applicant’s conduct

 is so culpable that the patent should be held unenforceable.” Baxter, 149 F.3d at 1327; accord



                                                 22
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 23 of 28 PAGEID #: 4656




 Semiconductor, 204 F.3d at 1373 (noting that determination is an “equitable judgment”).

        37 C.F.R. § 1.555(b) defines materiality as follows:

                [I]nformation is material to patentability in a reexamination
                proceeding when it is not cumulative to information of record or
                being made of record in the reexamination proceeding, and

                         (1) It is a patent or printed publication that establishes, by
                itself or in combination with other patents or printed publications,
                a prima facie case of unpatentability of a claim; or

                       (2) It refutes, or is inconsistent with, a position the
                applicant takes in:

                            (i) Opposing an argument of unpatentability relied on
                            by the Office, or

                            (ii) Asserting an argument of patentability.

                    A prima facie case of unpatentability is established when the
                information compels a conclusion that a claim is unpatentable
                under the preponderance of evidence, burden-of-proof standard,
                giving each term in the claim its broadest reasonable construction
                consistent with the specification, and before any consideration is
                given to evidence which may be submitted in an attempt to
                establish a contrary conclusion of patentability.

 “A withheld reference may be highly material when it discloses a more complete combination of

 relevant features, even if those features are before the patent examiner in other references.”

 Semiconductor, 204 F.3d at 1374.

        Direct evidence of intent is rarely available in instances of inequitable conduct, but intent

 may be inferred from clear and convincing evidence of the surrounding circumstances. Baxter,

 149 F.3d at 1329; Critikon, 120 F.3d at 1256; see Molins PLC v. Textron, Inc., 48 F.3d 1172,

 1180 (Fed. Cir. 1995) (stating that intent “is most often proven by a showing of acts, the natural

 consequence of which are presumably intended by the actor”). “[A]lthough intent may be

 inferred from circumstantial evidence, mere gross negligence is insufficient to justify an


                                                  23
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 24 of 28 PAGEID #: 4657




 inference of an intent to deceive the PTO.” Baxter, 149 F.3d at 1329; accord Allen Eng’g Corp.

 v. Bartell Indus., Inc., 299 F.3d 1336, 1351 (Fed. Cir. 2002) (citing Kingsdown Med.

 Consultants, Ltd. v. Hollister Inc., 863 F.2d 867, 876 (Fed. Cir. 1988) (en banc in relevant part)).

 “In a case involving an omission of a material reference to the PTO, there must be clear and

 convincing evidence that the applicant made a deliberate decision to withhold a known material

 reference.” Baxter, 149 F.3d at 1329.

        While intent sometimes may be inferred from misleading conduct itself, Paragon

 Podiatry Lab., Inc. v. KLM Labs., Inc., 984 F.2d 1182, 1191 (Fed. Cir. 1993), the Federal Circuit

 has noted that “materiality does not presume intent, which is a separate and essential component

 of inequitable conduct.” Allen Organ Co. v. Kimball Int’l, Inc., 839 F.2d 1556, 1567 (Fed. Cir.

 1988). Proof of high materiality and that the applicant knew or should have known of that

 materiality, however, can make it difficult for an applicant to overcome an inference of intent to

 mislead:

                No single factor or combination of factors can be said always to
                require an inference of intent to mislead; yet a patentee facing a
                high level of materiality and clear proof that it knew or should
                have known of that materiality, can expect to find it difficult to
                establish “subjective good faith” sufficient to prevent the drawing
                of an inference of intent to mislead. A mere denial of intent to
                mislead (which would defeat every effort to establish inequitable
                conduct) will not suffice in such circumstances.


 Critikon, 120 F.3d at 1257; see Semiconductor, 204 F.3d at 1375.

                                b. Hedlund’s Deposition Testimony

        Defendant asserts that Plaintiff, pursuant to C.F.R. § 1.555(b)(2)(i), had a duty to disclose

 Hedlund’s deposition testimony during his reexamination proceeding because that information is

 material. In her deposition testimony, Hedlund described the cat declaw procedure she has


                                                 24
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 25 of 28 PAGEID #: 4658




 taught her students since 1981. When asked to explain one of the diagrams in Chapter 6 of the

 Fossum reference, she responded as follows:

        “Q:     Okay. Could you turn to the figure on page 147, 13-37, looks like B? Do you
                have that in front of you?
        A:      Yes.
        Q:      Can you explain why the scalpel is shown at the joint in that figure?
        A:      Because this is demonstrating as you begin to cut through the tendons that attach
                to P3.
        Q:      So this figure is after the first circumferential incision has already been made?
        A:      Yes, it is.
        Q:      And has the skin already been pulled back at that point?
        A:      Correct.”


 On cross-examination by Plaintiff’s counsel, Hedlund clarified her description of the diagram:

        “Q:     I see. Then if we look at figure 13-37B that’s referred to in that sentence that I
                directed you to a moment ago, that’s of Hedlund Exhibit #2, does that illustration
                show that [circumferential, cuticle] incision you just described?
        A:      No. It’s not really showing the cuticle incision, it’s showing - it’s referring to the
                anatomy there and the dotted line is showing where you go through the joint
                space after you’ve made your cuticle-like incision.”


 Defendant alleges that Plaintiff did not disclose Hedlund’s deposition transcripts because he

 knew it would undermine his efforts to obtain a favorable result during the reexamination

 proceedings. According to Defendant, Hedlund’s deposition testimony is material to the

 reexamination, and Plaintiff’s attempt to withhold its disclosure constitutes inequitable conduct

 before the PTO.

        Plaintiff counters that he was not obligated to submit the deposition testimony because,

 under the PTO rules that govern reexaminations, Plaintiff was only obligated to disclose “other

 patents or printed publications.” Plaintiff argues that he complied with such rules, namely by

 submitting the Fossum reference, but that it was not necessary to disclose Hedlund’s deposition


                                                  25
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 26 of 28 PAGEID #: 4659




 testimony because it merely reflected her opinion of what the Fossum reference teaches.

        Plaintiff’s understanding of what is material during reexamination proceedings is

 mistaken. Section 1.555(b)(2)(i) expressly provides that information is material to a

 reexamination proceeding when “[i]t refutes, or is inconsistent with, a position the patent owner

 takes in opposing an argument of unpatentability relied on by the Office.” 37 C.F.R. §

 1.555(b)(2)(i). Hedlund’s deposition testimony falls squarely within this category because her

 explanation for the diagram refutes Plaintiff’s position that the Fossum reference teaches a

 different incision than the incision in Claims 1 and 2 of the ‘579 patent. Therefore, the Hedlund

 deposition testimony is material to the reexamination proceedings.

                    c. Plaintiff’s Statements Within Reexamination Argument

        Defendant also contends that Plaintiff made false written statements in the argument he

 submitted during reexamination proceedings. These statements, according to Defendant, are

 inconsistent with the above-referenced Hedlund deposition testimony. Specifically, Defendant

 noted the following three allegedly false statements in Plaintiff’s argument:

        •       “The only reference in Fossum to this illustration is at the end of the
                quoted sentence that discusses the first incision through the skin,
                not through tendons and ligaments. Thus, the only reasonable
                interpretation of this illustration and the reference to it when
                discussing the first incision is that it shows the location of the first
                incision: through the skin. Fossum teaches a skin incision at the
                joint between PII and PIII not near the edge of the ungual crest.”
                (emphasis in Plaintiff’s argument).


        •       “The prior art only teaches to cut through the joint in a single straight cutting
                path.” (emphasis in Plaintiff’s argument).


        •       “The Fossum reference also teaches a single cutting path incision starting with the


                                                   26
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 27 of 28 PAGEID #: 4660




                skin at the PII-PIII joint.”


 Defendant argues that all three statements are inconsistent with Hedlund’s deposition testimony

 and could not have been made to the Examiner if Plaintiff had submitted such testimony.

 Defendant alleges that when Plaintiff made these statements without disclosing Hedlund’s

 deposition testimony, he intentionally misled the Examiner and committed inequitable conduct

 before the PTO.

        Plaintiff responds to Defendant’s allegation by asserting that his statements merely

 reflect his subjective interpretation of what the Fossum reference teaches. According to

 Plaintiff, they are not affirmative misrepresentations of fact simply because they contradict

 Hedlund’s deposition testimony of what she thinks the Fossum reference teaches. Plaintiff

 maintains that the law governing reexaminations permits him to submit his opinion of what the

 Fossum reference teaches without submitting an opposing view.

         The Court is more persuaded by Defendant’s position. Plaintiff’s statements to the PTO

 are misleading in light of Hedlund’s deposition testimony, which Plaintiff should have submitted

 to the Examiner. See Novo Nordisk Pharmaceuticals, Inc. v. Bio-Technology General Corp.,

 424 F.3d 1347, 1357–62 (Fed. Cir. 2005); Pharmacia Corp. v. Par Pharmaceutical, Inc., 417

 F.3d 1369, 1373 (Fed. Cir. 2005) (affirming district court’s ruling of inequitable conduct when

 applicant submitted scientific conclusions that were inconsistent with withheld information).

 And, contrary to Plaintiff’s suggestion, Hedlund’s deposition testimony is not merely an opinion

 that contradicts Plaintiff’s argument; Hedlund is the author of the chapter in the Fossum

 reference that Plaintiff concedes is a prior art. Plaintiff’s written statements to the Examiner

 flatly reject the content of Hedlund’s deposition testimony. Without question, Plaintiff’s

 statements are affirmative misstatements of material fact.

                                                  27
Case: 2:03-cv-00655-ALM-TPK Doc #: 124 Filed: 03/28/06 Page: 28 of 28 PAGEID #: 4661




        Given the highly material nature of Plaintiff’s misleading statements and his failure to

 disclose Hedlund’s deposition testimony, which the Court finds to be material information, this

 Court may properly infer an intent to deceive. See Baxter, 149 F.3d at 1327 (“The more material

 the omission, the less evidence of intent will be required in order to find that inequitable conduct

 has occurred.”). Since Defendant has demonstrated by clear and convincing evidence both that

 the information was material and that the conduct was intended to deceive, the Court finds that

 Plaintiff did engage in inequitable conduct before the PTO, and as such, the ‘579 patent is

 unenforceable in its entirety. See Pharmacia, 417 F.3d at 1374–75 (“[A] finding of inequitable

 conduct in the acquisition of even a single claim of a patent renders the remaining claims of that

 patent unenforceable, even those without the taint of inequitable conduct.”). Therefore,

 Defendant’s Second Motion is GRANTED.

                                        V. CONCLUSION

        For the foregoing reasons, Defendant’s First Motion (Motion for Summary Judgment on

 Plaintiff’s Induced Infringement Claim) is GRANTED, and Defendant’s Second Motion

 (Motion for Summary Judgment of Patent Unenforceability Due to Inequitable Conduct) is

 GRANTED.

        IT IS SO ORDERED.

                                                   /s/ Algenon L. Marbley
                                                   ALGENON L. MARBLEY, JUDGE
                                                   United States District Court
 DATED: March 28, 2006




                                                  28
